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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

SAMUEL KATZ, ALEXANDER                         No. 1:18-cv-10506
BRAURMAN, LYNNE RHODES,
individually, and on their own behalf and      PLAINTIFFS’ L.R. 56.1 REDACTED
on behalf of all others similarly situated,    STATEMENT FOR THEIR OPPOSITION
                                               TO DEFENDANTS’ MOTION FOR
                  Plaintiffs,                  SUMMARY JUDGMENT
         v.

LIBERTY POWER CORP., LLC,
LIBERTY POWER HOLDINGS, LLC,
Delaware limited liability companies,

          Defendants.
LIBERTY POWER CORP., LLC, and
LIBERTY POWER HOLDINGS, LLC,

                  Third-Party Plaintiffs,
         v.

MEZZI MARKETING, LLC,

                  Third-Party Defendant.




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         Plaintiffs Samuel Katz and Lynne Rhodes (collectively, “Plaintiffs”) submit their L.R.

56.1 statement for their opposition to Defendants Liberty Power Corp., LLC and Liberty Power

Holdings, LLC’s (“Defendants’”) Motion for Summary Judgment (“Motion”).

Index of Exhibits for L.R. 56.1 Statement:

         Exhibit 1:        Email confirmation of August 12, 2006 Do Not Call registration for
                           Rhodes’s cellular telephone number, 617-962-      KATZ 308004)

         Exhibit 2:        Portions of May 14, 2019 Deposition Transcript of Lynne Rhodes

         Exhibit 3:        Portions of May 8, 2019 Deposition Transcript of Michelle Castillo

         Exhibit 4:        Exhibit 9 to Deposition of Michelle Castillo (LP_001245-57)

         Exhibit 5:        Exhibit 10 to Deposition of Michelle Castillo (LP_003528)

         Exhibit 6:        Email confirmation of February 4, 2008 Do Not Call registration for
                           Rhodes’s landline, 508-540-     (KATZ 308005)

         Exhibit 7:        Portions of Massachusetts Department of Public Utilities records
                           reflecting Rhodes’s complaints concerning Defendants (KATZ 307682-
                           86)

         Exhibit 8:        Calibrus production of audio recording of November 27, 2017 call to
                           Rhodes with native file name “211351573020171127.wav” (KATZ
                           307690)

         Exhibit 9:        Exhibit 19 to Deposition of Michelle Castillo (LP _002515-1 to -11) with
                           “Telesales Channel Phone Number Log 2016-2017 2.2.17.xlsx” metadata

         Exhibit 10:       Exhibit 20 to Deposition of Michelle Castillo (LP _002367)

         Exhibit 11:       Portions of Verizon telephone call records for Rhodes’s residential
                           landline (KATZ 307761-62, KATZ 307802)

         Exhibit 12:       Recording of Mezzi Marketing, LLC’s (“Mezzi”) December 6, 2017 call
                           to the Rhodes landline (KATZ 309210)

         Exhibit 13:       Recording of Mezzi’s January 8, 2019 call to the Rhodes landline (KATZ
                           309216)

         Exhibit 14:       June 17, 2019 court order from the probate court in Barnstable county
                           appointing Rhodes as the personal representative of her father’s estate
                           (KATZ 379618-19)

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         Exhibit 15:       June 26, 2017 Deposition Transcript of Samuel Katz in Slovin, et al., v.
                           Sunrun Inc., et al., 4:15-cv-05340-YGR (N.D. Cal.)

         Exhibit 16:       May 16, 2019 Deposition Transcript of Samuel Katz

         Exhibit 17:       December 18, 2018 Deposition Transcript of Shelby Hinkley

         Exhibit 18:       Email confirmation of August 16, 2003 Do Not Call Registration for
                           Katz’s landline, 508-966-    (KATZ 007611)

         Exhibit 19:       Verizon email call records reflecting Mezzi’s calls to Katz’s landline from
                           508-202-      (KATZ 000001-14)

         Exhibit 20:       Recording of first October 3, 2016 call from 508-202-       to Samuel
                           Katz (KATZ 379616)

         Exhibit 21:       Recording of second October 3, 2016 from Mezzi to Samuel Katz (KATZ
                           000185)

         Exhibit 22:       Defendants’ First Amended Objections to Rhodes’s First Set of
                           Interrogatories


Plaintiffs’ L.R. 56.1 Statement of Facts (cited as “Pl.s’ SOF)

       FACTS RELATED TO LYNNE RHODES
 1     Rhodes’s cellular telephone number 617-962-XXXX has been registered on the do not
       call list since August 12, 2006. (KATZ 308004.)

 2     Rhodes testified she had “several calls in 2016” from Defendants or their vendors to her
       cellular telephone, which were identified via discovery. (Rhodes Depo. Tr. 131:2-14.)

       Rhodes’s cellular telephone number appears in several of Defendants’ leads lists sent to
       Mezzi Marketing, LLC (“Mezzi”): Defendants’ Rule 30(b)(6) deponent could not
       identify any reason why Rhodes would not have been called since her telephone numbers
       appeared in Defendants’ leads lists. (Castillo Depo. Tr. 78:16-21; 79:12-21. See also
       Castillo Depo. Tr. 65:22-67:7 (contents of lead lists); 70:12-70:22 (transmission of lead
       lists to vendors); Exhibit 9 to Castillo Depo. (LP_001245); Exhibit 10 to Castillo Depo.
       (LP_003528-2).)




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Plaintiffs’ L.R. 56.1 Statement of Facts (cited as “Pl.s’ SOF)

 3     Rhodes testified that, in June 2018, she received another call to her cellular telephone
       using a prerecorded voice, and that when she did speak to a live representative, the live
       representative indicated he was calling from Liberty Power. (Rhodes Depo. Tr. 127:17-
       132:24.) Rhodes received a telephone call on her cellular telephone on June 20, 2018.
       (KATZ 307758.)

 4     Rhodes registered her residential landline on the Do Not Call list on February 2008 with
       her father. (KATZ 308005; Rhodes Depo. Tr. 32:18-33:16 (“I, sitting in my father’s
       living room, did this with him on my computer”).)

 5     Rhodes testified that, in May 2017, Rhodes moved back into her family home to care for
       her father (who had developed Lewy body dementia in 2016) “to help him financially, as
       well as help him get himself more organized in the handling of the regular life activities.”
       (Rhodes Depo. Tr. 18:6-8; 45:20-46:16.) Rhodes testified that Verizon formally added
       her as a user to the landline account in June or July 2017. (Rhodes Depo. Tr. 45:20-
       46:16; 111:3-113:24.) Rhodes testified Verizon recognized her authority over the
       account:
               I called [Verizon] and asked repeatedly, and I was assured that my calling in and I
               had access to do anything with the account, but the bill name would not change.
       (Rhodes Depo. Tr. 35:3-19. See also Rhodes Depo. Tr. 17:16-18:8; 21:23-22:16 (Rhodes
       began paying Eversource bill by July 2017).))

 6     Records from the Massachusetts Department of Public Utilities indicate that Rhodes’s
       father terminated Defendants’ service on September 15, 2017. (KATZ 307684.)

 7     Rhodes testified Defendants’ agents called the residential landline four and six times a
       week in November 2017—and that she answered most of these calls because her father
       had been hospitalized after a stroke. (Rhodes Depo. Tr. 37:15-38:19; 45:20-46:16.)

 8     Rhodes testified, starting in the last week of November 2017, she began to tell
       Defendants repeatedly to “Remove this number from your list.” (Rhodes Depo. Tr.
       41:21-44:6; 48:14-49:23.)

       Defendants’ third-party verifier, Calibrus, produced a partial recording of a November
       27, 2017 call from Liberty Power’s telemarketers to Rhodes. (KATZ 307690.) (Calibrus
       produced KATZ 307690 with its native file name “211351573020171127.wav,”
       reflecting a November 27, 2017 date. Each of the five other audio files Calibrus produced
       had analogous date notations in the native format file name.) This recording terminates
       with Rhodes asking the Calibrus representative: “So, so, you’re telling me this is being
       changed? From what?”




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Plaintiffs’ L.R. 56.1 Statement of Facts (cited as “Pl.s’ SOF)

 9     In the Massachusetts DPU records, Defendants assert they enrolled Rhodes’s father again
       on December 6, 2017, but concede they cancelled enrollment on December 15, 2017.
       (KATZ 307684.) However, Defendants’ agents continued to call Rhodes’s landline
       number in December 2017, January 2018, and March 2018. (Rhodes Depo. Tr. 63:7-
       65:9.)

 10    Rhodes testified that in some of Defendants’ calls, she told the caller that her father “had
       dementia and that they were taking advantage of him.” (Rhodes Depo. Tr. 47:6-10.)

       The DPU records indicate that the DPU alerted Defendants that Rhodes’s father had
       Alzheimer’s no later than December 15, 2017. (KATZ 307686.) However, Defendants
       did not inform the DPU that Rhodes was on their internal Do Not Call List under January
       9, 2016. (KATZ 307685-86.)

 11    Defendants’ vendors spoofed calls—they falsified the outgoing telephone number
       displayed in recipients’ Caller ID. (Castillo Depo. Tr. at 122:1-128:8; Exhibit 19 to
       Castillo Depo. (LP _002515-1 to -11); Exhibit 20 to Castillo Depo. (LP_002367).) This
       spoofing has made it more difficult to gather evidence that attributes calls to Defendants.
       (See Rhodes Depo. Tr. 65:10-17; KATZ 307802 (record of spoofed December 6, 2017
       call from Defendants with inaccurate originating number).)

 12    Mezzi provided access to seven recordings of Mezzi’s calls to Rhodes’s landline number.
       Consistent with the Calibrus productions, the native audio file names indicate calls seven
       calls to Rhodes’s landline number on December 6 and 7, 2017, and January 6 and 8,
       2019. (KATZ 309210-16.)

 13    The Mezzi recordings include a complete recording of the December 6, 2017 call
       answered by Rhodes’s father. (KATZ 309210.) In the call, the caller identified himself as
       “Jacob Miller, . . . calling you from your current electric supplier company on your
       Eversource electric bill,” and does not disclose he is calling for Liberty Power until he
       has obtained various information from Rhodes’s father. (KATZ 309210 at 0:51, 4:22.)

       At the end of the call, Rhodes’s father asks if he can put someone else’s name on the
       account, and says he wants to add his daughter (Lynne) to the account. (KATZ 309210 at
       15:30, 16:38.)




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 14    Mezzi’s January 8, 2018 call to Rhodes contains the following exchange:

                RHODES: “Hello?”

                MEZZI: “Can I speak with Scoba Rhodes?”

                RHODES: “May I ask whose callings?”

                MEZZI: “Yes, please. My name is James and I’m calling from Liberty Power.
                That is your supplier for your Eversource electricity bill, alright?”

                RHODES: “No, its not. You guys—”

                MEZZI: “Why not?”

                RHODES: “Need to stop . . . Oh my God, how can you keep calling?”

                MEZZI: “What happened, ma’am?”

                RHODES: “We don’t want your services . . .”

       (KATZ 309216 at 0:19-0:46.) Plaintiffs submit KATZ 309216 for aural review. The
       audible tone of the exchange in KATZ 309216 is admissible evidence of Rhodes’s
       annoyance and invasion of privacy.




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Plaintiffs’ L.R. 56.1 Statement of Facts (cited as “Pl.s’ SOF)

 15    Rhodes has contemporaneous records of other calls from Liberty Power during January
       2019, in the form of her complaints to the Massachusetts DPU. (KATZ 307682-86.) In an
       email dated January 9, 2018 to the DPU, Rhodes stated: “I have received 3 more calls
       from this Liberty power insisting I am their customer and I’ve even screamed at them to
       stop calling and to remove my number from their system.” (KATZ 307685.) In a January
       15 email, Rhodes stated:
                I just got off the phone with Liberty Power again. They said they will not stop
                calling me until I tell them who I have my power source from and what my rate is.
                I told them it was none of their business and to stop calling me. He said not going
                to happen. I said it was against the law what he is doing. . . . He said he was
                calling from Eversource and not Liberty Power until I pressed him. The phone
                number came up as an alias number. He said he'll just continue to call until I
                changed it or told him who I had.
       (Id.) In a January 27 email, Rhodes stated:
                Liberty Power has called 4 times that I have documented. . . . They call and say
                they are calling from Eversource and my father believes them and he wants to
                make sure his account is current. Thankfully, I hope, I’ve told him not to pay
                anything over the phone and to ask for a paper bill before he pays. They have told
                me they were from Eversource and when I told him he was lying, he told me I
                needed to die. When I asked who he was calling from, he wouldn’t tell me. Until I
                asked if he was from Liberty Power.
        (KATZ 307685.)

 16    On June 17, 2019, the probate court in Barnstable county appointed Rhodes as the
       personal representative of her father’s estate. (KATZ 379618-19.) This appointment
       expires in September 2019, but Rhodes intends to extend the appointment and/or seek
       permanent appointment.

 17    Rhodes testified she brought this lawsuit because
               I repeatedly asked to be removed from the call list. I . . . continued to be called,
               and people were giving misinformation to my father to gain business, and he was
               not of the capacity to independently verify the incorrect statements that were
               given to him. That’s an abuse of somebody who is elderly, has dementia issues,
               and I am livid that occurred.
       (Rhodes Depo. Tr. 31:7-23.) Rhodes further testified her Liberty’s exploitation of her
       father’s condition was “secondary” to her intent to enforce the Do Not Call List laws:
               His sole — his illness is secondary to the fact that he was getting repeated phone
               calls and we told them to not call, so his illness was of concern to me and added
               pressure to me. Regardless of whether — the reason, “do not call” means “do not
               call,” and that was not adhered to.
       (Rhodes Depo. Tr. 47:15-20.)




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       FACTS RELATED TO SAMUEL KATZ
 18    Katz previously testified that he has never “maintained any phone line for the purpose of
       receiving calls that [he] claim[s] that are in violation of the TCPA.” (Katz Sunrun Depo.
       Tr. 130:3-6.)

 19    Katz and his spouse testified that Katz maintained 508-966-         landline for emergency
       purposes, to ensure reliable 911 service for their residence. (Katz Depo. Tr. 75:1-18;
       Hinkley Depo. Tr. 35:21-36:24.)

 20    Katz alleges TCPA claims for at least thirteen unsolicited calls by or on behalf of Liberty
       Power calls to his residential landline at 508-966-     using a prerecorded voice and in
       violation of the TCPA’s Do Not Call regulations. (ECF No. 109 ¶107.)

 21    Katz testified he arranged to forward calls through his Google number to his cellular
       telephone, which meant calls to the Katz’s numbers would ring to his cellular telephone.
       (Katz Depo. Tr. 80:23-81:1.) Katz testified he made this arrangement “so that [his] wife
       wouldn’t have to hear the annoying calls” and so he “wouldn’t have to walk across the
       house and pick up the phone.” (Katz Depo. Tr. 139:13-19.) Katz’s wife had asked Katz to
       “mute” the        landline “[b]ecause it was annoying.” (Hinkley Depo. Tr. 47:2-19.)

 22    All of Katz’s telephone numbers are listed on the National Do Not Call Registry. (Katz
       Sunrun Depo Tr. 199:15-17; 199:20-22; 200:1-3; Katz Depo Tr. 31:1-2; 33:2-7; 48:16-
       17.) Mr. Katz’s      number has been registered on the National do not call list since
       August 16, 2003. (KATZ 007611.)

 23    Katz testified that he did not stop calls to the   ringing on his cellular telephone (and
       thereby potentially miss wanted calls) because “he is under no obligation to
       accommodate the needs of telemarketers who habitually violate the law.” (Katz Depo. Tr.
       139:22-24.)

 24    Katz also testified that “the [Google] number was a phone number [he] had for a very
       long time, so [this arrangement] helped [him] with screening the calls.” (Katz Depo. Tr.
       80:23-81:1.) Katz testified that this number was “a number [he] historically used” and
       that he didn’t want people to lose contact with him “when [he] got a new phone number.”
       (Katz Sunrun Depo. Tr. 119:10-15.)

 25    Katz testified that the functionality of creating email records when a telephone number
       receives a call is a feature that “Verizon offers to all of its customers.” (Katz Sunrun
       Depo. Tr. 328:4-9.)

 26    Katz previously testified he began to keep records of telephone calls he received when he
       “realized that if I was going—if I had a dispute with a company like that that they
       weren’t going to take my concerns seriously unless I had actual records of what
       happened.” (Katz Sunrun Depo. Tr. 93:4-17.)



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 27     Katz was asked “so the           number did not ring in September 2016, correct? Katz
       testified that “[i]t did ring.” (Katz Depo. Tr. 74:7-14).

 28    Katz testified Defendants’ calls were “intrusive and harassing,” and that he is “on the
       National Do Not Call List for a reason.” (Katz Depo. Tr. 138:16-24.)

 29    At the time of the calls alleged Katz testified that the    number rang on his cellphone.
       (Katz Depo. Tr. 74 7:14.)

 30    In September 2016, Mr. Katz began receiving calls to his       residential landline
       number from 508-202-1270. (Katz Depo. Tr. 134:16-23; KATZ 000001-000011; Def.s’
       First Amended Objs. to Rhodes’ First Set of Interrogatories, Response No. 1 at 3.)

 31    Katz answered a call from 508-202-1270 on October 3, 2016. (Katz Depo. Tr. 109:13-16;
       113:3-7 See also Katz Depo. Tr. 114:8-115:18; 117:11-23; KATZ 379616.)

 32    508-202-1270 is a spoofed number used by Mezzi, one of the telemarketers that
       Defendants used to call Katz. (Castillo Depo. Tr. at 122:1-128:8.)

 33    Defendants used the fact that Mezzi 1270 number’s spoofing to deny that their vendors
       made the calls to Plaintiffs. (Castillo Depo. Tr. at 122:1- 128:8.)

 34    This call began with a prerecorded message. (KATZ 379616.) Mr. Katz had been
       receiving prerecorded spoofed calls claiming affiliation with Eversource for months prior
       to these calls. (Katz Depo. Tr. 173:7-17.)

 35    The caller initially misrepresented himself as an Eversource representative, so Katz did
       not know the identity of the caller. (Katz Depo. Tr. 119:12-20; 116:13-14; 140:14-141:9;
       172:8-173:17; KATZ 379616 at 0:02-0:07; 0:30-0:35.)

 36    During the call, Mr. Katz stated “You have a very bad connection, I can barely hear you.”
       The caller continued to speak and Mr. Katz said to the “Eversource” caller “can you just
       give me a call back, I can barely hear you.” (KATZ 379616 at 0:49-0:55; 1:16-1:20.)

 37    The caller immediately called back from an “anonymous” number and the caller finally
       identified itself as Liberty Power. Katz then asked the caller to stop calling Katz, but was
       told he “had to sign up for Liberty Power service” if he “wanted to stop receiving calls.”
       (Katz Depo. Tr. 113:3-23; 114:14-16; KATZ 000185 at 24:21-25:14; KATZ 000011.)

 38    Mr. Katz testified that he specifically recalls his frustration with the calls on October 3,
       2016. “My memories are particularly around the frustration of the 10/3 call.” (Katz Depo.
       Tr. 119:3-20.)




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 39    Within an hour of this October 3 call, Katz emailed Defendants to ask them to stop
       calling his landline number. (Katz Depo. Tr. 141:23-142:4; 170:13-171:10; KATZ
       000013-14.) Defendants’ vendors made at least two more calls to Katz’s landline number,
       on October 14, 2016. (Katz Depo. Tr. 109:13-16; 133:4-135:12.)

 40     Defendants produced contemporaneous communications with its vendor, Mezzi which
       indicate that Mezzi called Katz’s residential landline at 508-966-   in October 2016.
       (Castillo Dep. Tr. 103:4-105:15.) Defendants admit that Mezzi called Katz’s
       number ten times from the telephone number 508-202-1270. (Def.s’ First Amended Objs.
       to Rhodes’ First Set of Interrogatories, Response No. 1 at 3.)

 41    Mr. Katz is gainfully employed with a full-time position at a data company (and held this
       position at the time of the calls). (Hinkley Depo. Tr. 77:13-21; 81:4-5; Katz Depo. Tr.
       18:19-19:16.)

 42    Mr. Katz has a family with three young children at home. (Hinkley Depo. Tr. 81:4-5;
       82:7-18.)

 43    Mr. Katz’s family’s standard of living has not changed in any way since Mr. Katz began
       enforcing his consumer rights under the TCPA. (Hinkley Depo. Tr. 59:21-60:23.)

 44    Mr. Katz testified as to why he maintained each phone line at different periods of time.
       At the time of the calls alleged in the complaint Katz testified that he had four residential
       numbers. (Katz Depo. Tr. 85:4-6.)

       His      Google voice number was “a number [he] historically used” and that he didn’t
       want people to lose contact with him “when [he] got a new phone number.” (Katz Sunrun
       Depo. Tr. 119:10-15.)

       Mr. Katz maintained a personal cellphone number. (Katz Depo. Tr. 31:3-4; Katz Sunrun
       Depo. Tr. 104: 17-18.)

       Katz obtained the      telephone number because “initially intended to have a business
       line at my house when I got a new job [but] ultimately, [he] did not end up using it for
       that purpose.” (Katz Depo. Tr. 75:8-18. Cf. Katz Depo. Tr. 80:10-22.)

       Katz maintained 508-966-         landline for his family for emergency purposes, to ensure
       reliable 911 service for their Massachusetts residence. (Katz Depo. Tr. 75:1-18; Hinkley
       Depo. Tr. 35:21-36:24.) Katz no longer uses these Massachusetts numbers. (Cf. Katz
       Depo. Tr. 30:20-31:2.). The Katz family no longer maintained the 508-966-         landline
       number after August 2017 when he and his family moved to Maine. (Hinkley Depo. Tr.
       48:23- 49:2.)




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 45    As of May 2019, Mr. Katz and his family maintain 5 residential lines.

       The 857 line is his wife’s recent previous cellphone number which she changed for a
       Maine number but kept so people can still contact her on that number. (Katz Depo. Tr.
       47:19- 48:5; Hinkley Depo Tr. 45:14-20.)

       The 207 number Katz and his wife “originally had tried to set up [the last number [207]
       as a landline in the house,” in Maine but was frustrated when he was “unable to get a dial
       tone” for it, because he “wanted a landline in my house . . . [f]or emergency calls.” (Katz
       Depo. Tr. 45:1-13; Hinkley Depo. Tr. 49: 3-15.)

       Katz testified that he purchased the 305 number for privacy reasons to provide a party
       when he doesn’t have “confidence that they would be able to handle my information in a
       secure and professional manner.” (Katz Depo. Tr. 62:13-21.)

 46    Katz testified that “as a result of some situations that have occurred in the past” he
       provides the 305 number to people he doesn’t know, and to certain businesses, and uses
       this number if he were to provide a contact number on a document. (Katz Depo. Tr.61:1-
       7:63:1-10).

 47    Katz testified that “when he had previously made a DNC request companies started
       calling [him] on th[e] number [provided].” (Katz Depo. Tr. 175:1-5.)

 48    Mr. Katz has sent letters to telemarketers to request information about how a company
       obtained his information and sometimes requests monetary compensation so that a
       company pays attention and doesn’t ignore him. (Katz Sunrun Depo. Tr. 61:14-62:6;
       63:8-64:1).

 49    Where, as here, Mr. Katz has been harmed by illegal telemarketing calls, Mr. Katz
       endeavors “to enforce the TCPA as effectively as possible, and the way that Congress
       intended, which would include class actions.” (Katz Depo. Tr.157:4-13.)

 50    Although Katz was offered “a large sum which would have significantly impacted his
       family’s life,” Katz turned down a $100,000 individual settlement offer in another case.
       (See Slovin v. Sunrun Inc., No. 15-05340, Declaration of Samuel Katz (N.D. Cal. Apr. 5,
       2019), ECF No. 205-8 ¶¶14; 16.)




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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
1     The telephone number that Lynne           Objection. Irrelevant to the TCPA claims at
                                                issue here and therefore immaterial.
      Rhodes alleges she received
                                                Rhodes disputes any inference that she does not
      telephone calls from or on behalf of      have standing because of Verizon account was
                                                in her father’s name. The TCPA’s “private right
      Liberty Power, 508-540-           was,    of action allows suit by any ‘person’ who
                                                ‘received’ calls that were placed ‘in violation of’
      at all times of the alleged calls, in the the TCPA regulations. . . . [T]he cause of action
                                                is § 227(c)(5) is not limited to telephone
      name of her father, Scoba Rhodes.         subscribers.” Krakauer, 925 F.3d at 656-57
                                                (quoting 47 U.S.C. § 227(c)(5)). The TCPA
      Exhibit 5, May 14, 2019 transcript of defines “subscriber” for the purposes of the
                                                DNC regulations as “[a]ny adult person
      Lynne Rhodes’ deposition (“Rhodes         authorized by [the party identified in the account
                                                records as responsible for payment] to change
      Dep.”) 34:17-35:8;113:2-12; Exhibit telecommunications services or to charge
                                                services to the account; or [a]ny person . . .
      6, June 16, 2018 Verizon Telephone        otherwise lawfully authorized to represent such
                                                party.” 47 C.F.R. § 64.1100(h).
      Bill for Scoba Rhodes and Exhibit 4
                                                In May 2017, Rhodes moved back into her
      to Lynne Rhodes’s deposition              family home to care for her father (who had
                                                developed Lewy body dementia in 2016) “to
      (impounded); Exhibit 7, Scoba             help him financially, as well as help him get
                                                himself more organized in the handling of the
      Rhodes’ Verizon Account Payment           regular life activities.” (Rhodes Depo. Tr. 18:6-
                                                8; 45:20-46:16.) Verizon formally added her as
      History and Exhibit 13 to Lynne           a user to the landline account in June or July
                                                2017. (Rhodes Depo. Tr. 45:20-46:16; 111:3-
      Rhodes’ deposition (impounded).           113:24.) Verizon recognized her authority over
                                                the account:
                                                         I called [Verizon] and asked repeatedly,
                                                         and I was assured that my calling in and
                                                         I had access to do anything with the
                                                         account, but the bill name would not
                                                         change.
                                                (Rhodes Depo. Tr. 35:3-19. See also Rhodes
                                                Depo. Tr. 17:16-18:8; 21:23-22:16 (Rhodes
                                                began paying Eversource bill by July 2017).))




Plaintiffs’ L.R. 56.1 Statement                 11                                 No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
2     The telephone number 508-540-          This fact is undisputed.

         is associated with the address

                            Falmouth, MA.

         Rhodes Dep. 33:2-4.



3        Ms. Rhodes was not living at              Objection. Irrelevant to the TCPA claims at
                                                   issue here and therefore immaterial.
                           in February 2008
                                                   Rhodes disputes any inference that she does not
         when 508-540-            was registered   have standing based on whether she registered
                                                   the landline number on the Do Not Call List.
         on the do not call list. Rhodes Dep.
                                                   Krakauer specifically rejected the argument that
         33:13-16.                                 “the private right of action [under TCPA §
                                                   227(c)(5)] should be limited only to those who
                                                   can list their numbers on the registry”:
                                                            If a wife, as the subscriber, lists a home
                                                            telephone number on the Do-Not-Call
                                                            registry, but her husband happens to be
                                                            the one who receives the improper calls,
                                                            the law has still been violated. Both the
                                                            wife and the husband can suffer the
                                                            harm that Congress sought to deter, and
                                                            both are “persons” able to bring a claim
                                                            under § 227(c)(5).
                                                   Krakauer, 925 F.3d at 657.




Plaintiffs’ L.R. 56.1 Statement                    12                                 No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
4     Ms. Rhodes’ name was not on the         Objection. Irrelevant to the TCPA claims at
                                              issue here and therefore immaterial.
      account for 508-540-       in
                                              Rhodes disputes any inference that she does not
      February 2008. Rhodes Dep. 33:24-       have standing based on whether she registered
                                              the landline number on the Do Not Call List.
      34:2.
                                              Krakauer specifically rejected the argument that
                                              “the private right of action [under TCPA §
                                              227(c)(5)] should be limited only to those who
                                              can list their numbers on the registry”:
                                                       If a wife, as the subscriber, lists a home
                                                       telephone number on the Do-Not-Call
                                                       registry, but her husband happens to be
                                                       the one who receives the improper calls,
                                                       the law has still been violated. Both the
                                                       wife and the husband can suffer the
                                                       harm that Congress sought to deter, and
                                                       both are “persons” able to bring a claim
                                                       under § 227(c)(5).
                                              Krakauer, 925 F.3d at 657.




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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
5     508-540-        was Scoba Rhodes’        Objection. Irrelevant to the TCPA claims at
                                               issue here and therefore immaterial.
      residential telephone number through
                                               Rhodes disputes any inference that she does not
      at least June 16, 2018. Exhibit 6.       have standing because of Verizon account was
                                               in her father’s name. The TCPA’s “private right
                                               of action allows suit by any ‘person’ who
                                               ‘received’ calls that were placed ‘in violation of’
                                               the TCPA regulations. . . . [T]he cause of action
                                               is § 227(c)(5) is not limited to telephone
                                               subscribers.” Krakauer, 925 F.3d at 656-57
                                               (quoting 47 U.S.C. § 227(c)(5)). The TCPA
                                               defines “subscriber” for the purposes of the
                                               DNC regulations as “[a]ny adult person
                                               authorized by [the party identified in the account
                                               records as responsible for payment] to change
                                               telecommunications services or to charge
                                               services to the account; or [a]ny person . . .
                                               otherwise lawfully authorized to represent such
                                               party.” 47 C.F.R. § 64.1100(h).

                                                In May 2017, Rhodes moved back into her
                                                family home to care for her father. (Rhodes
                                                Depo. Tr. 18:6-8; 45:20-46:16.) Verizon
                                                formally added her as a user to the landline
                                                account in June or July 2017. (Rhodes Depo. Tr.
                                                45:20-46:16; 111:3-113:24.) Verizon recognized
                                                her authority over the account:
                                                        I called [Verizon] and asked repeatedly,
                                                        and I was assured that my calling in and
                                                        I had access to do anything with the
                                                        account, but the bill name would not
                                                        change.
                                                (Rhodes Depo. Tr. 35:3-19.)




Plaintiffs’ L.R. 56.1 Statement                 14                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
6     When Scoba Rhodes passed away          This fact is undisputed.

         and the telephone number became

         Ms. Rhodes’ residential telephone

         number, Verizon assigned it a

         different account number. Rhodes

         Dep. 22:17-23:5.



7        Ms. Rhodes received one telephone      Rhodes disputes the contention Defendants’
                                                agents only called her cellular telephone number
         call on her cellular telephone which   once. (Rhodes notes she has different TCPA
                                                claims arising from Defendants’ calls to her
         lasted between 2-3 minutes. Rhodes     landline and Defendants’ calls to her cellular
                                                telephone.)
         Dep. 132:1-9.
                                                Rhodes had “several calls in 2016” from
                                                Defendants or their vendors to her cellular
                                                telephone, which were identified via discovery.
                                                (Rhodes Depo. Tr. 131:2-14.)

                                                Rhodes’s cellular telephone number appears in
                                                several of Defendants’ leads lists sent to Mezzi
                                                Marketing, LLC (“Mezzi”): Defendants’ Rule
                                                30(b)(6) deponent could not identify any reason
                                                why Rhodes would not have been called since
                                                her telephone numbers appeared in Defendants’
                                                leads lists. (Castillo Depo. Tr. 78:16-21; 79:12-
                                                21. See also Castillo Depo. Tr. 65:22-67:7
                                                (contents of lead lists); 70:12-70:22
                                                (transmission of lead lists to vendors); Exhibit 9
                                                to Castillo Depo. (LP_001245); Exhibit 10 to
                                                Castillo Depo. (LP_003528-2).)




Plaintiffs’ L.R. 56.1 Statement                 15                                No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
8     Lynn Rhodes was not charged for the Objection. Irrelevant to the TCPA claims at
                                              issue here and therefore immaterial.
      single telephone call she allegedly
                                              The TCPA’s autodialer provision is disjunctive.
      received on her cellular phone.         It prohibits calls
                                                       using any automatic telephone dialing
      Rhodes Dep. 133:5-10.                            system or an artificial or prerecorded
                                                       voice [to call (1)] any telephone number
                                                       assigned to a . . . cellular telephone
                                                       service . . . or [(2)] any service for
                                                       which the called party is charged for the
                                                       call . . .
                                              47 U.S.C. § 227(b)(1) (emphasis added). The
                                              cellular call element at (1) is in the alternative to
                                              the charged call requirement at (2), not in the
                                              addition. “Congress did not intend the phrase
                                              ‘for which the called party is charged for the
                                              call’ to apply to cellular telephone services.”
                                              Osorio v. State Farm Bank, FSB, 746 F.3d at
                                              1257 (collecting authorities).

9        Ms. Rhodes did not receive more         Rhodes disputes the contention Defendants’ did
                                                 not receive any more calls to her cellular
         telephone calls after she told the      telephone from Defendants after June 2018.

         caller to “take me off your list.”      Rhodes identified calls from Defendants that
                                                 were not found in her complaint as “calls that
         Rhodes Dep. 129:19.                     we found as we’ve been going along and
                                                 researching at this time. I expect to find more
                                                 calls as we identify the calls listed.”

                                                 Rhodes disputes any inference that she would
                                                 not have standing because of Defendants only
                                                 called her cellular telephone once: “a mere
                                                 technical violation of the TCPA is, by itself, a
                                                 concrete injury sufficient to confer standing.”
                                                 Gibbs v. SolarCity Corp., 239 F. Supp. 3d 391,
                                                 395 (D. Mass. 2017) (collecting cases).




Plaintiffs’ L.R. 56.1 Statement                 16                                 No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Rhodes
10    Lynne Rhodes moved into her            This fact is undisputed.

         father’s home approximately

         Memorial Day 2017 and answered

         some inbound telephone calls while

         she temporarily lived there. Rhodes

         Dep. 16:2-4; 38:4-21.




Plaintiffs’ L.R. 56.1 Statement                17                       No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
1     At the time of the alleged telephone calls,  Objection. Irrelevant to the TCPA claims
                                                   at issue here and therefore immaterial.
      Mr. Katz had his 508-966-        telephone
                                                   Katz testified that the email feature is a
      number set to create email and text          feature that “Verizon offers to all of its
                                                   customers.” (Katz Sunrun Depo. Tr. 328:4-
      message records when it received a call.     9.) Katz and his spouse testified that the
                                                   Katz’s maintained this landline for
      Exhibit 1, Unredacted May 16, 2019           emergency purposes, to ensure reliable 911
                                                   service for their residence. (Katz Depo. Tr.
      deposition transcript of Samuel Katz         75:1-18; Hinkley Depo. Tr. 35:21-36:24.)
                                                   This testimony contradicts any inference that
      (“Katz Dep.”) 1 (impounded) 70:24-71:13; Katz maintained this phone line solely to file
                                                   TCPA lawsuits.
      80:10-22; 72:23-73:2.
                                                   Katz disputes that keeping records of calls
                                                   that were made to him have any effect on
                                                   his standing. See Krakauer v. Dish
                                                   Network, LLC, 925 F.3d 643, 657 (4th Cir.
                                                   2019); Mey v. Venture Data, LLC, 245 F.
                                                   Supp. 3d 771, 783 (N.D.W. Va. 2017).




Plaintiffs’ L.R. 56.1 Statement               18                               No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
2     At the time of the alleged telephone calls,  Objection. Irrelevant to the TCPA claims
                                                   at issue here and therefore, immaterial.
      Mr. Katz’s 508-966-        telephone
                                                   Katz disputes any inference that Katz
      number was set by Mr. Katz to forward to     maintains telephone numbers solely to file
                                                   TCPA lawsuits, or that he did not suffer
      his google voice telephone number and        nuisance or invasion of privacy.

         then forward again to his cellular          Katz testified Defendants’ calls were
                                                     “intrusive and harassing,” and that he is
         telephone number. Katz Dep. 82:18-3.        “on the National Do Not Call List for a
                                                     reason,” and that he never “maintained any
         [sic]                                       phone line for the purpose of receiving
                                                     calls that [he] claim[s] that are in violation
                                                     of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                     Katz Sunrun Depo. Tr. 130:3-6.)

                                                     Katz asserts TCPA claims for prerecorded
                                                     voice calls and Do Not Call violations,
                                                     based on at least thirteen calls to his
                                                     residential landline. (ECF No. 109 ¶107.)

                                                     Katz arranged to forward calls through his
                                                     Google number to his cellular telephone,
                                                     which meant calls to Katz’s landline
                                                     number would ring to his cellular
                                                     telephone. (Katz Depo. Tr. 80:23-81:1.)

                                                     Katz also testified that “the [Google]
                                                     number was a phone number [he] had for a
                                                     very long time, so [this arrangement]
                                                     helped [him] with screening the calls.”
                                                     (Id.) Katz testified that this number was “a
                                                     number [he] historically used” and that he
                                                     didn’t want people to lose contact with him
                                                     “when [he] got a new phone number.”
                                                     (Katz Sunrun Depo. Tr. 119:10-15.)




Plaintiffs’ L.R. 56.1 Statement                 19                                No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
2     At the time of the alleged telephone calls,  CONTINUED

         Mr. Katz’s 508-966-        telephone          Katz testified he made this arrangement
                                                       “so that [his] wife wouldn’t have to hear
         number was set by Mr. Katz to forward to      the annoying calls” and so he “wouldn’t
                                                       have to walk across the house and pick up
         his google voice telephone number and         the phone.” (Katz Depo. Tr. 139:13-19.)
                                                       Katz’s wife had asked Katz to “mute” the
         then forward again to his cellular            family’s landline “[b]ecause it was
                                                       annoying.” (Hinkley Depo. Tr. 47:2-19.)
         telephone number. Katz Dep. 82:18-3.

         [sic]



3        At the time of the alleged telephone calls,   Objection. Irrelevant to the TCPA claims
                                                       at issue here and therefore, immaterial.
         Mr. Katz had another telephone number         Katz disputes any inference that Katz
                                                       maintains telephone numbers solely to file
         which also had automatic forwarding, first    TCPA lawsuits, or that he did not suffer
                                                       nuisance or invasion of privacy. (
         to his google voice number and then to his
                                                       Katz obtained the [        telephone number
         personal cellular telephone. Katz Dep.        at issue because “initially intended to have
                                                       a business line at my house when I got a
         80:10-22.                                     new job [but] ultimately, [he] did not end
                                                       up using it for that purpose.” (Katz Depo.
                                                       Tr. 75:8-18. Cf. Katz Depo. Tr. 80:10-22.)
                                                       Katz no longer has this Massachusetts
                                                       number. (Cf. Katz Depo. Tr. 30:20-31:2.)




Plaintiffs’ L.R. 56.1 Statement                   20                               No. 1:18-cv-10506
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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
4     In September and October 2016, when           Objection. Irrelevant to the TCPA claims
                                                    at issue here and therefore, immaterial.
      either one of Mr. Katz’s 508-966              This statement is duplicative of Def.s’ SOF
                                                    3 for Katz.
      telephone numbers was called, it would
                                                    At the time of the calls Mr. Katz had two
      forward to his google voice number and        numbers forwarding to his google voice
                                                    and then to his cellphone. (Katz Depo. Tr.
      then forward to his cell phone. Katz Dep.     73:14-74:2.)

         73:14-74:2.                                Katz disputes any inference that Katz
                                                    maintains telephone numbers solely to file
                                                    TCPA lawsuits, or that he did not suffer
                                                    nuisance or invasion of privacy. (See Pl.s’
                                                    SOF 18, 28, 38.)




Plaintiffs’ L.R. 56.1 Statement               21                                No. 1:18-cv-10506
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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
5     As of May 16, 2019, Mr. Katz had five         Objection. This fact is irrelevant and
                                                    therefore immaterial to the TCPA claims
      residential telephone numbers. Katz Dep.      alleging calls from Liberty Power in 2016.

         30:20-31-2; 85:9-13; 31:11-21; 35:8-10.    The Katz family stopped maintaining the
                                                    508-966-       landline number after
         [sic]                                      August 2017 when he and his family
                                                    moved to Maine. (Hinkley Depo. Tr.
                                                    48:23- 49:2.) Katz does not assert any
                                                    claims against Defendants for calls to any
                                                    of the telephone numbers referenced in
                                                    Def.s’ SOF 5. (ECF No. 109 ¶57.)

                                                    Katz disputes any inference that Katz
                                                    maintains telephone numbers solely to file
                                                    TCPA lawsuits as that contradicts his
                                                    direct testimony. (See Pl.s’ SOF 18.)
                                                    All of Katz’s telephone numbers are listed
                                                    on the National Do Not Call Registry.
                                                    (Katz Sunrun Depo Tr. 199:15-17; 199:20-
                                                    22; 200:1-3; Katz Depo Tr. 31:1-2; 33:2-7;
                                                    48:16-17.) The number ending in 6565 is
                                                    Katz’s residential cellular telephone
                                                    number. (Katz Depo. Tr. 31:3-4.)

                                                    Katz’s       number was his wife’s
                                                    “previous cell phone number” (that she had
                                                    replaced with “a Maine phone number”)
                                                    which Katz and his wife “retain[ed] that
                                                    number so that if anybody had that
                                                    number, they would still be able to contact
                                                    us, or if anybody texted that number, I
                                                    would be able to direct them to her new
                                                    number.” (Katz Depo. Tr. 47:19-48:5.
                                                    Hinkley Depo. Tr. 45:14-20.)




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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
5     As of May 16, 2019, Mr. Katz had five       CONTINUED

         residential telephone numbers. Katz Dep.   Katz also has had his [         Google
                                                    number for a long time. (See Pl.s’ SOF 24.)
         30:20-31-2; 85:9-13; 31:11-21; 35:8-10.    Katz used the 305 number to “give out . . .
                                                    to parties [he did not] trust” and/or “was
         [sic]                                      not comfortable and did not know” the
                                                    parties. (Katz Depo. Tr. 62:13-63:10;
                                                    67:24-68:9.)

                                                    Katz testified that this number was “a
                                                    number [he] historically used” and that he
                                                    didn’t want people to lose contact with him
                                                    “when [he] got a new phone number.”
                                                    (Katz Sunrun Depo. Tr. 119:10-15.)

                                                    The 207 number Katz and his wife
                                                    “originally had tried to set up [the last
                                                    number [207]] as a landline in the house,”
                                                    but was frustrated when he was “unable to
                                                    get a dial tone” for it, because he “wanted
                                                    a landline in my house . . . [f]or emergency
                                                    calls.” (Katz Depo. Tr. 45:1-13.)




Plaintiffs’ L.R. 56.1 Statement                23                               No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
6     At least 75% of the telephone calls he       Objection. This fact is irrelevant and
                                                   immaterial to the TCPA claims alleging
      receives on these telephone numbers are      calls from Liberty Power in 2016. The
                                                   Katz family no longer maintained the 508-
      unwanted and unsolicited phone calls.        966-       landline number after August
                                                   2017 when he and his family moved to
      Katz Dep. 33:8-16.                           Maine. (Hinkley Depo. Tr. 48: 23- 49:2)

                                                   Katz is not bringing claims for calls by
                                                   Liberty Power to any phone numbers other
                                                   than to his landline      number. (ECF
                                                   No. 109 ¶57.)

                                                   Katz disputes any inference that Katz
                                                   maintains telephone numbers solely to file
                                                   TCPA lawsuits as that contradicts his
                                                   direct testimony. (See Pl.s’ SOF 18.)

                                                   Katz contends that this fact supports his
                                                   testimony that he does not maintain his
                                                   phone lines solely for purposes of filing
                                                   TCPA lawsuits as 25% of calls are wanted
                                                   and solicited.

                                                   Katz does not dispute that many calls are
                                                   “unwanted and unsolicited.” Katz disputes
                                                   any inference that he does anything to
                                                   encourage these calls. To the contrary,
                                                   Katz testified Defendants’ calls were
                                                   “intrusive and harassing,” and that he is
                                                   “on the National Do Not Call List for a
                                                   reason,” and that he never “maintained any
                                                   phone line for the purpose of receiving
                                                   calls that [he] claim[s] that are in violation
                                                   of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                   Katz Sunrun Depo. Tr. 130:3-6.)

                                                   Katz disputes that this fact can lend itself
                                                   to any inferences as Defendants do not put
                                                   forth any evidence showing that many
                                                   Americans do not share the same
                                                   experience, namely that a majority of calls
                                                   to their residence are “unwanted and
                                                   unsolicited.”


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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
7     Mr. Katz voluntarily selected a Florida 305 Objection. This fact is irrelevant and
                                                    immaterial to the TCPA claims alleging
      area code for one of his five current         calls from Liberty Power in 2016. The
                                                    Katz family no longer maintained the
      residential telephone numbers. Katz Dep.      residential landline called in October 2016,
                                                    after he and his family moved to Maine in
      62:1-4.                                       the summer of 2017. (Hinkley Depo. Tr.
                                                    48:23- 49:2). Katz is not bringing claims
                                                    for calls by Liberty Power to any other
                                                    phone line. (ECF NO. 109 ¶ 57.)

                                                     Katz disputes any inference Katz used this
                                                     number in the same way as the plaintiff in
                                                     Stoops v. Wells Fargo Bank, N.A., 197 F.
                                                     Supp. 3d 782 (W.D. Pa. 2016). The Stoops
                                                     plaintiff selected at least 35 phones in
                                                     locations in Florida which she knew to be
                                                     economically depressed where people
                                                     would be defaulting on their loans or credit
                                                     cards in the hopes of receiving calls to
                                                     phones which no longer belonged to their
                                                     previous owners who owed the debt. Id. at
                                                     788-89. Here, Katz chose the 305 area
                                                     code based on a “rap song” he enjoyed
                                                     titled “305 Till I Die.” (Katz. Depo. Tr.
                                                     62:3-7).

                                                     Katz disputes any inference that the 305
                                                     area code (which includes, e.g., Palm
                                                     Beach) is in a depressed area of Florida.




Plaintiffs’ L.R. 56.1 Statement                25                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
7     Mr. Katz voluntarily selected a Florida 305 CONTINUED

         area code for one of his five current           Katz disputes any inference that Katz
                                                         maintains telephone numbers solely to file
         residential telephone numbers. Katz Dep.        TCPA lawsuits as that contradicts his
                                                         direct testimony. (See Pl.s’ SOF 18.)
         62:1-4.                                         Katz testified that he purchased the 305
                                                         number to provide a party when he doesn’t
                                                         have “confidence that they would be able
                                                         to handle my information in a secure and
                                                         professional manner.” (Katz Depo. Tr.
                                                         62:13-21.)

                                                         Katz disputes any inference that he has
                                                         done anything to encourage telemarketing
                                                         calls. Katz testified Defendants’ calls were
                                                         “intrusive and harassing,” and that he is
                                                         “on the National Do Not Call List for a
                                                         reason,” and that he never “maintained any
                                                         phone line for the purpose of receiving
                                                         calls that [he] claim[s] that are in violation
                                                         of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                         Katz Sunrun Depo. Tr. 130:3-6.)

8        Mr. Katz’s 305 telephone number is a            Objection. This fact is irrelevant and
                                                         immaterial to the TCPA claims alleging
         telephone number that forwards telephone        calls from Liberty Power in 2016.

         calls to his cellular phone and does not        Katz is not bringing claims for calls by
                                                         Liberty Power to the 305 phone number.
         ring in his residence. Katz Dep. 31:11-12;      (ECF NO. 109 ¶ 57.)

         31:22-32:8.                                     Katz disputes that the 305 telephone
                                                         number doesn’t ring in his residence. The
                                                         phone rings on his cellphone. (Katz Depo.
                                                         Tr.43:6-8.)




Plaintiffs’ L.R. 56.1 Statement                     26                                No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
9     When the 305 telephone number forwards Objection. This fact is irrelevant and
                                                   therefore immaterial to the TCPA claims
      to Mr. Katz’s cell phone, he cannot          alleging calls from Liberty Power in 2016.

         identify who has called the 305 number.       Katz is not bringing claims for calls by
                                                       Liberty Power to the 305 phone number.
         Katz Dep. 35:1-7.                             (ECF NO. 109 ¶ 57.)

10       Mr. Katz communicates on his 305              Objection. This fact is irrelevant and
                                                       immaterial to the TCPA claims alleging
         number with “Defendants, but not -- sorry,    calls from Liberty Power in 2016.

         not defendants. A party who I had             Katz is not bringing claims for calls by
                                                       Liberty Power to the 305 phone number.
         corresponded with about allegations of        (ECF NO. 109 ¶ 57.)

         TCPA violations” and “Illegal                 Katz disputes any inference that Katz
                                                       maintains telephone numbers solely to file
         telemarketers.” Katz Dep. 32:16-22.           TCPA lawsuits as that contradicts his
                                                       direct testimony. (See Pl.s’ SOF 18.)
                                                       Katz testified that he purchased the 305
                                                       number to provide a party when he doesn’t
                                                       have “confidence that they would be able
                                                       to handle my information in a secure and
                                                       professional manner.” (Katz Depo. Tr.
                                                       62:13-21.) Katz testified that “as a result of
                                                       some situations that have occurred in the
                                                       past” he provides this number to people he
                                                       doesn’t know, and to certain businesses,
                                                       and uses this number if he were to provide
                                                       a contact number on a document. (Katz
                                                       Depo. Tr. 61:1-7; 63:1-10.)




Plaintiffs’ L.R. 56.1 Statement                   27                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
11    The majority of the telephone calls Mr.     Objection. This fact is irrelevant and
                                                  immaterial to the TCPA claims alleging
      Katz receives on his 305 number are         calls from Liberty Power in 2016. Katz is
                                                  not bringing claims for calls by Liberty
      telemarketing calls. Katz Dep. 33:8-11.     Power to the 305 telephone number. (ECF
                                                  No. 109 ¶ 57; Katz Depo Tr. 65:3-5.)

                                                     Katz disputes any inference that he has
                                                     done anything to encourage telemarketing
                                                     calls. Katz testified Defendants’ calls were
                                                     “intrusive and harassing,” and that he is
                                                     “on the National Do Not Call List for a
                                                     reason,” and that he never “maintained any
                                                     phone line for the purpose of receiving
                                                     calls that [he] claim[s] that are in violation
                                                     of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                     119:3-10; Katz Sunrun Depo. Tr. 130:3-6.)

12       Mr. Katz does not make any outgoing calls   Objection. This fact is irrelevant and
                                                     immaterial to the TCPA claims alleging
         on the 305 telephone number. Katz Dep.      calls from Liberty Power in 2016.

         42:19-21.                                   Katz is not bringing claims for calls by
                                                     Liberty Power to the 305 telephone
                                                     number. (ECF NO. 109 ¶ 57.)

                                                     Katz disputes any inference that he has
                                                     done anything to encourage telemarketing
                                                     calls. Katz testified Defendants’ calls were
                                                     “intrusive and harassing,” and that he is
                                                     “on the National Do Not Call List for a
                                                     reason,” and that he never “maintained any
                                                     phone line for the purpose of receiving
                                                     calls that [he] claim[s] that are in violation
                                                     of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                     119:3-10; Katz Sunrun Depo. Tr. 130:3-6.)




Plaintiffs’ L.R. 56.1 Statement               28                                  No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
13    Incoming telephone calls to Mr. Katz’s      Objection. This fact is irrelevant and
                                                  immaterial to the TCPA claims alleging
      207 telephone number also do not ring at    calls from Liberty Power in 2016.

         his residence and also forward to his           Katz is not bringing claims for calls by
                                                         Liberty Power to the 207 telephone
         cellular telephone. Katz Dep. 35:22-36:8        number. (ECF NO. 109 ¶ 57.)

                                                         Katz disputes any inference that Katz
                                                         maintains telephone numbers solely to file
                                                         TCPA lawsuits as that contradicts his
                                                         direct testimony. (See Pl.s’ SOF 18.)
                                                         The 207 number Katz and his wife
                                                         “originally had tried to set up [the last
                                                         number [207]] as a landline in the house,”
                                                         but was frustrated when he was “unable to
                                                         get a dial tone” for it, because he “wanted
                                                         a landline in my house . . . [f]or emergency
                                                         calls.” (Katz Depo. Tr. 45:1-13.; Hinkley
                                                         Depo. Tr.49:7-15.) Katz testified that he
                                                         “wanted a Maine phone number.” (Katz
                                                         Depo. Tr. 62:10-12.)

                                                         Katz disputes that the 207 telephone
                                                         number doesn’t ring in his residence. The
                                                         phone rings on his cellphone. (Katz Depo.
                                                         Tr. 32:7-8.)

14       Mr. Katz also cannot identify who has           Objection. This fact is irrelevant and
                                                         immaterial to the TCPA claims alleging
         called the 207 telephone number when it         calls from Liberty Power in 2016.

         forwards to his cellular telephone. Katz        Katz is not bringing claims for calls by
                                                         Liberty Power to the 207 phone number.
         Dep. 36:9-16.                                   (ECF No. 109 ¶ 57; Katz Depo. Tr. 65:6-
                                                         13.)




Plaintiffs’ L.R. 56.1 Statement                     29                               No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
15    For both the 305 number and the 207          Objection. This fact is irrelevant and
                                                   immaterial to the TCPA claims alleging
      telephone number, Mr. Katz “retain[s]        calls from Liberty Power in 2016.

         records of the [all] calls beyond the regular   Katz is not bringing claims for calls by
                                                         Liberty Power to the 305 or 207 telephone
         retention policy by copying and pasting         number. (ECF No. 109 ¶ 57; Katz Depo.
                                                         Tr. 65:3-13.)
         exported CSV files into an Excel
                                                         Katz disputes that keeping records of calls
         spreadsheet” in a document called a “call       that were made to him have any effect on
                                                         his standing. See Krakauer v. Dish
         archive.” Katz Dep. 38:17-39:13.                Network, LLC, 925 F.3d 643, 657 (4th Cir.
                                                         2019); see also Mey v. Venture Data, LLC,
                                                         245 F. Supp. 3d 771, 783 (N.D.W. Va.
                                                         2017).

16       Mr. Katz keeps a “call archive” based in        Objection. This fact is irrelevant and
                                                         immaterial to the TCPA claims alleging
         part on his experience from “past               calls from Liberty Power in 2016.

         litigation” so that he has increased access     Katz is not bringing claims for calls by
                                                         Defendants to these other telephone
         to call records. Katz Dep. 39:14-24.            numbers. (ECF NO. 109 ¶ 57).

                                                         Mr. Katz began to keep records when he
                                                         “realized that if I was going—if I had a
                                                         dispute with a company like that that they
                                                         weren’t going to take my concerns
                                                         seriously unless I had actual records of
                                                         what happened.” (Katz Sunrun Depo. Tr.
                                                         93:4-17.)

                                                         Katz disputes that keeping or maintaining
                                                         records of calls that were made to him
                                                         have any effect on his standing. See
                                                         Krakauer v. Dish Network, LLC, 925 F.3d
                                                         643, 657 (4th Cir. 2019); see also Mey v.
                                                         Venture Data, LLC, 245 F. Supp. 3d 771,
                                                         783 (N.D.W. Va. 2017).




Plaintiffs’ L.R. 56.1 Statement                    30                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
17    Mr. Katz updates this call archive          Objection. This fact is irrelevant and
                                                  immaterial to the TCPA claims alleging
      manually once a month by exporting data     calls from Liberty Power in 2016. The
                                                  Katz family no longer maintained the 508-
      from his VoIP provider NumberBarn. Katz 966-           landline number after summer
                                                  2017 when he and his family moved to
      Dep. 46:14-24; 35:8-14; 35:20-21.           Maine. (Hinkley Depo. Tr. 48:23- 49:2.)
                                                  Katz is not bringing claims for calls by
                                                  Liberty Power to these telephone numbers.
                                                  (ECF No. 109 ¶ 57.)

                                                       Katz disputes that keeping or maintaining
                                                       records of calls that were made to him
                                                       have any effect on his standing. See
                                                       Krakauer v. Dish Network, LLC, 925 F.3d
                                                       643, 657 (4th Cir. 2019); see also Mey v.
                                                       Venture Data, LLC, 245 F. Supp. 3d 771,
                                                       783 (N.D.W. Va. 2017).

18       If Mr. Katz disabled the call forwarding to   Objection. This fact is irrelevant and
                                                       immaterial to the TCPA claims alleging
         his cell phone on his 207 and 305             calls from Liberty Power in 2016. The
                                                       Katz family no longer maintained the 508-
         numbers, incoming telephone calls go to       966-       landline number after summer
                                                       2017 when he and his family moved to
         voicemail. Katz Dep. 44:12-16; 59:10-23;      Maine. (Hinkley Depo. Tr. 48:23- 49:2.)
                                                        Katz is not bringing claims for calls by
         60:9-17.                                      Liberty Power to these telephone numbers.
                                                       (ECF No. 109 ¶ 57; Katz Depo. Tr. 65: 3-
                                                       13.)

19       Mr. Katz set up the call forwarding on his    Objection. This fact is irrelevant to the
                                                       TCPA and immaterial to the TCPA claims
         305 number less than a week after             alleging calls from Liberty Power in 2016.
                                                       (ECF No. 109 ¶ 57.)
         obtaining the telephone number. Katz Dep.

         44:17-21.




Plaintiffs’ L.R. 56.1 Statement                  31                               No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
20    Mr. Katz has (and pays for) the 305         Objection. This fact is irrelevant and
                                                  therefore immaterial to the TCPA claims
      number because he is “no longer             alleging calls from Liberty Power in 2016.

         comfortable giving out my direct phone          Katz testified that “when he had previously
                                                         made a DNC request companies started
         number to some -- particularly some             calling [him] on that number. (Katz Depo.
                                                         Tr. 175:1-5.)
         TCPA defendants or TC -- potential TCPA

         violators.” Katz Dep. 61:1-7.



21       The 508-966-             which allegedly        Objection. This fact is disputed. This fact
                                                         is also irrelevant to the TCPA claims and
         received telephone calls on behalf of the       therefore immaterial.

         Defendants did not audibly ring when            Katz was asked “so the           number did
                                                         not ring in September 2016, correct? Katz
         dialed. Katz Dep. 74:9-24                       testified that “[i]t did ring.” (Katz Depo.
                                                         Tr. 74: 7-14; Hinkley Depo. Tr. 47:7-8.) At
                                                         the time of the calls alleged, Katz testified
                                                         that it rang on his cellphone. (Katz Depo.
                                                         Tr. 74 7:14.)

22       Mr. Katz’s fourth telephone number, 508-        Objection. This fact is irrelevant to the
                                                         TCPA and to the claims here. The calls
         966-         also did not audibly ring when     alleged in the complaint were made to
                                                         Katz’s landline phone ending in
         dialed. Katz Dep. 78:8-10.                      (Katz Depo. Tr. 71:22-72:4.)


23       “In September of 2016 if someone called         Objection. This fact is irrelevant to any
                                                         TCPA claims and therefore immaterial.
                        or         the number that was   (See Def.’s SOF 1.)

         displayed on [Mr. Katz’s] cell phone was

         the        number.” Katz Dep. 82:24-83:3.




Plaintiffs’ L.R. 56.1 Statement                     32                                No. 1:18-cv-10506
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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
24    In September 2016, Mr. Katz had four          This fact supports Plaintiff Katz claims. It
                                                    is illegal to call a residential line for
      residential telephone numbers. Katz Dep.      telemarketing purposes without consent
                                                    and to call a number more than once that is
      85:4-6                                        registered on the National Do Not Call
                                                    List.

                                                        Defendants concede that Katz’s landline
                                                             number is a residential line. (Def.s’
                                                        SOF 24.)

                                                        Mr. Katz’s         number was registered on
                                                        the do not call list since August 16, 2003.
                                                        (KATZ 007611.)

25       As of May 16, 2019, Mr. Katz had five          Objection. This fact is irrelevant to any
                                                        TCPA claims and therefore immaterial.
         residential telephone numbers; three of
                                                        Katz disputes any inference that Katz
         those telephone numbers he did not have        maintains telephone numbers solely to file
                                                        TCPA lawsuits as that contradicts his
         in September 2016. Katz Dep. 85:9-13;          direct testimony. (See Pl.s’ SOF 18.)

         70:24-71:3; 30:20-31:2.                        Katz testified why he has these numbers.
                                                        (Pl.s’ SOF 44, 45.)

                                                        The 857 line is Katz’s wife’s recent
                                                        previous cellphone number which she
                                                        changed for a Maine number but kept so
                                                        people can still contact her on that number.
                                                        (See Pl.s’ SOF 28 (Katz Depo. Tr. 47:19-
                                                        48:5; Hinkley Depo Tr. 45:14-20.)




Plaintiffs’ L.R. 56.1 Statement                    33                                No. 1:18-cv-10506
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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
26    In 2015 Mr. Katz decided he wanted to        Objection. This fact is irrelevant to any
                                                   TCPA claims and therefore immaterial.
      fight back against telemarketers and began
                                                   Katz testified Mr. Katz began to keep
      creating documents to do so. Katz Dep.       records when he “realized that if I was
                                                   going—if I had a dispute with a company
      90:1-7.                                      like that that they weren’t going to take my
                                                   concerns seriously unless I had actual
                                                   records of what happened.” (Katz Sunrun
                                                   Depo. Tr. 93:4-17.)

                                                        Katz disputes that keeping or maintaining
                                                        records of calls that were made to him
                                                        have any effect on his standing. See
                                                        Krakauer v. Dish Network, LLC, 925 F.3d
                                                        643, 657 (4th Cir. 2019); see also Mey v.
                                                        Venture Data, LLC, 245 F. Supp. 3d 771,
                                                        783 (N.D.W. Va 2017).

27       As of June 26, 2017, Mr. Katz had a call       Objection. This fact is irrelevant to any
                                                        TCPA claims and therefore immaterial.
         log with approximately 2000-2400 rows of
                                                        Katz testified Mr. Katz began to keep
         separate calls that be began keeping in        records when he “realized that if I was
                                                        going—if I had a dispute with a company
         November 2015. Exhibit 3, Confidential         like that that they weren’t going to take my
                                                        concerns seriously unless I had actual
         June 26, 2017 deposition transcript of         records of what happened.” (Katz Sunrun
                                                        Depo. Tr. 93:4-17.) See also Slovin, et al.,
         Samuel Katz in the case Lynn Slovin, et        v. Sunrun Inc., et al., 4:15-cv-05340-YGR
                                                        (N.D. Cal.) (ECF No. 205-8, ¶12.)
         al., v. Sunrun Inc., et al., 4:15-cv-05340-
                                                        Katz disputes that keeping or maintaining
         YGR (N.D. Cal.) (impounded) 92:3-18.           records of calls that were made to him
                                                        have any effect on his standing. See
                                                        Krakauer v. Dish Network, LLC, 925 F.3d
                                                        643, 657 (4th Cir. 2019); see also Mey v.
                                                        Venture Data, LLC, 245 F. Supp. 3d 771,
                                                        783 (N.D.W. Va 2017).




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                    Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
28    Mr. Katz uses fake names when speaking        Objection. This fact is irrelevant to any
                                                    TCPA claims and therefore immaterial.
      with telemarketers for the purpose of
                                                    Katz disputes this fact to the extent that
      “trying to track the flow of my information Defendants imply this is a practice or that a
                                                    called party is under obligation to supply
      through the various lead generation           their personal information to illegal,
                                                    unknown, telemarketers upon request.
      databases, and so on and so forth.” Katz
                                                    Katz testified that “[t]here are times when
      Dep. 137:12-24.                               on illegal telemarketing calls, I’ve either
                                                    gone along with a name that was read to
                                                    me, or I have provided a false name in an
                                                    effort to determine who was calling me”.
                                                    (Katz Sunrun Depo. Tr. 19:3-11.)

29       Mr. Katz declined to turn off the ringer on    This fact is irrelevant to any TCPA claims
                                                        and therefore immaterial.
         his phone and instead forwarded his calls
                                                        Defendants take this statement out of
         so he could track them via email and “hold     context.

         the parties accountable who are                Mr. Katz testified that the reason the phone
                                                        rang is that he set up call forwarding so his
         responsible for those calls.” Katz Dep.        wife “wouldn’t have to hear the annoying
                                                        calls.” And that he “wouldn’t have to walk
         139:20-140:13                                  across the house” and pick up the phone.
                                                        (Katz Depo. Tr. 139:13-19.)

                                                        Mr. Katz testified that he “was on the Do
                                                        Not Call list for a reason”. (Katz Depo. Tr.
                                                        138:19-23.)

                                                        Mr. Katz testified that he forwarded the
                                                        calls to google voice prior to it ringing on
                                                        his cellphone to keep a record and “hold
                                                        the parties accountable who are responsible
                                                        for those calls.” (Katz Dep. Tr. 139:20-
                                                        140:13.)




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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
30    Mr. Katz has sent at least 25 TCPA          Objection. This is irrelevant and therefore
                                                  immaterial.
      demand letters. Katz Dep. 156:4-10.
                                                  Katz disputes any inference that Katz
                                                  maintains telephone numbers solely to file
                                                  TCPA lawsuits, or that he did not suffer
                                                  nuisance or invasion of privacy.
                                                  Katz further disputes any inference that he
                                                  runs a “TCPA business”.

                                                   Katz testified Defendants’ calls were
                                                   “intrusive and harassing,” and that he is
                                                   “on the National Do Not Call List for a
                                                   reason,” and that he never “maintained any
                                                   phone line for the purpose of receiving
                                                   calls that [he] claim[s] that are in violation
                                                   of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                   Katz Sunrun Depo. Tr. 130:3-6.)

                                                   Mr. Katz is gainfully employed with a full-
                                                   time position at a data company (and held
                                                   this position at the time of the calls.)
                                                   (Hinkley Depo. Tr. 77:13-21; 81:4-5; Katz
                                                   Liberty Depo 18:19-19:16.)

                                                   Mr. Katz has a family with three young
                                                   children at home. (Hinkley Depo, 81:4-5;
                                                   82:7-18). Mr. Katz’s family’s standard of
                                                   living has not changed in any way since
                                                   Mr. Katz began enforcing his consumer
                                                   rights under the TCPA. (Hinkley Depo. Tr.
                                                   59:21-60:23.)

                                                   Mr. Katz has sent letters to telemarketers
                                                   to request information about how a
                                                   company obtained his information and
                                                   sometimes requests monetary
                                                   compensation so that a company pays
                                                   attention and doesn’t ignore him. (Katz
                                                   Sunrun Depo. Tr. 61:14-62:6; 63:8-64:1.)




Plaintiffs’ L.R. 56.1 Statement               36                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
30    Mr. Katz has sent at least 25 TCPA          CONTINUED

         demand letters. Katz Dep. 156:4-10.              Shortly after he declined to settle on this
                                                          putative class action on an individual basis,
                                                          Defendants retaliated by suing him in a
                                                          Florida state court. (See ECF No. 60-4.)

                                                          Defendants then subpoenaed Katz’s spouse
                                                          to take her deposition. (See Hinkley v.
                                                          Liberty Power Corp., LLC, No. 18-00203,
                                                          2018 WL 6625140 (D. Me. Dec. 13,
                                                          2018).)

31.      Mr. Katz has been a Plaintiff in at least        Objection. This fact is irrelevant and
                                                          therefore immaterial.
         nine TCPA lawsuits. Katz Dep. 156:11-21
                                                          Mr. Katz disputes that this fact has any
                                                          effect on his standing See, e.g.,
                                                          Cunningham v. Montes, No. 16-761, 2019
                                                          WL 1978624, *3-4 (W.D. Wis. May 3,
                                                          2019) (rejecting “proposition that a
                                                          plaintiff lacks standing to sue if he fails to
                                                          take affirmative steps to avoid injury,”
                                                          where plaintiff was “experienced TCPA
                                                          plaintiff who has filed more than 150
                                                          lawsuits and has knowingly declined to
                                                          place his phone numbers on the federal do-
                                                          not-call registry”: his “participation in
                                                          other TCPA suits, even a large number of
                                                          them, does not mean that he has suffered
                                                          no real injury”); Morris, 2016 WL
                                                          7115973, at *6 (plaintiff who previously
                                                          filed “a significant number [at least 36] of
                                                          TCPA cases,” thought about franchising
                                                          his TCPA lawsuits, and listed himself as a
                                                          Pro Se Litigant of TCPA lawsuits on his
                                                          LinkedIn profile did “not yet rise to the
                                                          level of ‘professional plaintiff’ described in
                                                          those suits such that he is outside the zone
                                                          of interest”). See also Murray v. GMAC
                                                          Mortg. Corp., 434 F.3d 948, 954 (7th Cir.
                                                          2006).




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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
32    When Mr. Katz asks companies not to          Objection. This is irrelevant to Katz’s
                                                   TCPA claims and therefore immaterial and
      contact him, he does not provide all his     the statement is unsupported by the record.

         telephone numbers. Katz Dep. 169:24-        Katz disputes any inference that Katz
                                                     maintains telephone numbers solely to file
         170:12; 171:1-17.                           TCPA lawsuits, or that he did not suffer
                                                     nuisance or invasion of privacy.

                                                     Katz testified Defendants’ calls were
                                                     “intrusive and harassing,” and that he is
                                                     “on the National Do Not Call List for a
                                                     reason,” and that he never “maintained any
                                                     phone line for the purpose of receiving
                                                     calls that [he] claim[s] that are in violation
                                                     of the TCPA.” (Katz Depo. Tr. 138:16-24;
                                                     Sunrun Depo. 130:3-6.)

                                                     Katz disputes any inference that Mr. Katz
                                                     “casts bait” to companies by not giving
                                                     them all his numbers. (Def.s’ Mot. 12.)
                                                     This inference is also unreasonable as all
                                                     of Mr. Katz’s numbers are already on the
                                                     National Do Not Call Registry. (Katz
                                                     Sunrun Depo Tr. 199:15-17; 199:20-22;
                                                     200:1-3; Katz Depo Tr. 31:1-2; 33:2-7;
                                                     48:16-17; KATZ 007611.) Katz testified
                                                     his numbers are “on the National Do Not
                                                     Call List for a reason” and that he “tried to
                                                     avoid these calls to begin with.” (Katz
                                                     Depo. Tr. 138:22-23.)

                                                     Further, Mr. Katz testified that on one
                                                     occasion (to which Defendants refer) that a
                                                     company in which he provided only one of
                                                     his numbers was because he stopped doing
                                                     business with the company and didn’t want
                                                     to be bothered with re-enrollment calls.
                                                     “[I]t’s reasonable to conclude that if they
                                                     were going to call me, they would be
                                                     calling me with the phone number that was
                                                     already linked to my account”. (Katz
                                                     Depo. Tr. 169:11- 170:3-12.)



Plaintiffs’ L.R. 56.1 Statement                 38                                No. 1:18-cv-10506
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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
32    When Mr. Katz asks companies not to         CONTINUED

         contact him, he does not provide all his        Katz also testified that “when he had
                                                         previously made a DNC request,
         telephone numbers. Katz Dep. 169:24-            companies started calling [him] on that
                                                         number.” (Katz Depo. Tr. 175:1-5.)
         170:12; 171:1-17.



33       Mr. Katz is seeking a “kicker” or service        Objection. This statement is disputed. The
                                                         statement is also irrelevant and therefore
         award of $40,000 for being a named              immaterial.

         Plaintiff in a recent TCPA lawsuit. Katz        Mr. Katz turned down a $100,000 offer in
                                                         the Sunrun case. Slovin, et al., v. Sunrun
         Dep. 158:9-15; Lynn Slovin, et al., v.          Inc., et al., 4:15-cv-05340-YGR (N.D.
                                                         Cal.) (ECF No. 205-8 ¶ 14.)
         Sunrun Inc., et al., 4:15-cv-05340-YGR
                                                         Mr. Katz is not seeking $40,000 as a
         (N.D. Cal. April 5, 2019), Plaintiffs’          service award. Rather, Mr. Katz is seeking
                                                         a service award that the court “deems fair”.
         Notice of Motion and Motion for                 Slovin, et al., v. Sunrun Inc., et al., 4:15-
                                                         cv-05340-YGR (N.D. Cal.) (ECF No. 205-
         Attorneys’ Fees and Costs and Class             8, ¶ 18.)

         Representative Service Awards, ECF No.          Defendants’ use of the word “kicker” is
                                                         vague and ambiguous and improper, to the
         205-1 at 8, 29.                                 extent it suggests any meaning other than a
                                                         class representative incentive award that
                                                         will or will not be approved by the Slovin
                                                         court.




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                   Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
34    On October 3, 2016, at approximately 1:17 Plaintiff Katz disputes Def.s’ SOF 34 for
                                                   Katz. Plaintiff Katz also disputes the term
      pm, Mr. Katz gave consent to be called       “gave consent” as this is a legal conclusion
                                                   and not a fact.
      from the telephone number 508-202-
                                                   The       landline number was placed on
      Katz Dep. 193:13-194:20.                     the National Do-Not-Call List on August
                                                   16, 2003. (KATZ 007611.)

                                                    In September 2016, Mr. Katz began
                                                    receiving calls to his   residential
                                                    landline number from 508-202-        (Katz
                                                    Depo Tr.134:16-23; KATZ 000001-11.)

                                                    Katz answered a call from 508-202-
                                                    on October 3, 2016. (Katz Depo. Tr.
                                                    109:13-16; 113:3-7 See also Katz Depo.
                                                    Tr. 114:8-115:18; 117:11-23; KATZ
                                                    379616.)

                                                    508-202-       is a spoofed number that
                                                    Mezzi (one of Liberty Power’s
                                                    telemarketers) used to call Katz. (Castillo
                                                    Depo. Tr. at 122:1-128:8.)

                                                    Defendants used the spoofing to deny that
                                                    their vendors made the calls to Plaintiffs.
                                                    (Castillo Depo. Tr. at 122:1- 128:8; KATZ
                                                    000147.) This call began with a
                                                    prerecorded message. (KATZ 379616.)

                                                    The caller initially misrepresented himself
                                                    as an Eversource representative, so Katz
                                                    did not know the identity of the caller.
                                                    (Katz Depo. Tr. 119:12-20; 116:13-14;
                                                    140:14-141:9; 172:8-173:17; KATZ
                                                    379616.)




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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
34    On October 3, 2016, at approximately 1:17 CONTINUED

         pm, Mr. Katz gave consent to be called        During the call, Mr. Katz stated “You have
                                                       a very bad connection, I can barely hear
         from the telephone number 508-202-            you.” The caller continued to speak and
                                                       Mr. Katz said to the “Eversource” caller
         Katz Dep. 193:13-194:20.                      “can you just give me a call back, I can
                                                       barely hear you.” (KATZ 379616 at 0:49-
                                                       0:55; 1:16-1:20.)

                                                       The caller immediately called back from
                                                       an “anonymous” number and the caller
                                                       finally identified itself as Liberty Power.
                                                       Katz then asked the caller to stop calling
                                                       Katz, but was told he “had to sign up for
                                                       Liberty Power service” if he “wanted to
                                                       stop receiving calls.” (Katz Depo. Tr.
                                                       113:3-23; 114:14-16; KATZ 000185 at
                                                       24:21-25:14; KATZ 000011.)

                                                       Within an hour of this October 3 call, Katz
                                                       emailed Defendants to ask them to stop
                                                       calling his landline     number. (Katz
                                                       Depo. Tr. 141:23-142:4; 170:13-171:10;
                                                       KATZ 000013-14.)

                                                       Mr. Katz testified that he specifically
                                                       recalls his frustration with the calls on
                                                       October 3, 2016. “My memories are
                                                       particularly around the frustration of the
                                                       10/3 call.” (Katz Depo. Tr. 119:3-20.)

                                                       Defendants’ vendors made at least two
                                                       more calls to Katz’s landline number, on
                                                       October 14, 2016. (Katz Depo. Tr. 109:13-
                                                       16; 133:4-135:12.)




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                  Plaintiffs’ L.R. 56.1 Statement of Disputed Facts
Defendants’ Statement of Facts for Katz
35    On October 3, 2016, the same day Mr.        Objection. This fact is irrelevant and
                                                  immaterial to the TCPA claims.
      Katz contacted Liberty Power regarding

         the telephone calls alleged in the

         Complaint, he sent three emails and

         received one email from his attorney John

         Fink, who, at that time, had represented

         him in at least six TCPA lawsuits. Katz

         Dep. 196:18-197:6. Exhibit 4, Samuel

         Katz’s Objections and Responses to

         Defendants’ Interrogatory No. 14 at 53-54;

         Plaintiffs’ First Amended Privilege Log,

         ECF No. 139-2 at 2.



36       Mr. Katz has “continual ongoing                 Objection. This fact is irrelevant and
                                                         immaterial to the TCPA claims.
         conversations with counsel” because he
                                                         Katz testified that he “continuously
         “speak[s] with them about illegal               communicated with my attorneys
                                                         throughout the [Slovin v. Sunrun class
         telemarketing activities.” Katz Dep. 28:8-      action] case, asking for updates and
                                                         following each happening in the case
         13.                                             closely.” Slovin v. Sunrun Inc., No. 15-
                                                         05340, Declaration of Samuel Katz (N.D.
                                                         Cal. Apr. 5, 2019), ECF No. 205-8 ¶12.)



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                                      situated




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                                  CERTIFICATE OF SERVICE

I, Ethan Preston, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

Dated: July 12, 2019 By:                    s/Ethan Preston
                                             Ethan Preston




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